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                     No. 22-40516
                 __________________________

                      IN THE
        UNITED STATES COURT OF APPEALS
             FOR THE FIFTH CIRCUIT
            ___________________________

            UNITED STATES OF AMERICA,
                          Plaintiff-Appellee,

                                 v.

                     REID ETHERIDGE,
                                 Defendant-Appellant.
                 ___________________________

    On Appeal from the United States District Court
          For the Southern District of Texas
     McAllen Division, Criminal No. 7:20-CR-01791
             ___________________________

           BRIEF OF PLAINTIFF-APPELLEE
              ___________________________

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          STATEMENT REGARDING ORAL ARGUMENT

     Oral argument is unnecessary in this case. The facts and legal

arguments are adequately presented in the briefs and record, and the

decisional process would not be significantly aided by oral argument.

Fed. R. App. P. 34(a)(2)(C).




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                    STATEMENT OF JURISDICTION

      Reid Etheridge appeals from the judgment of conviction and

sentence entered on July 29, 2022. ROA.13, 166.1 The district court

(Crane, J.) had jurisdiction under 18 U.S.C. § 3231. Etheridge filed a

timely notice of appeal on August 3, 2022, under Fed. R. App. P.

4(b)(1)(A). ROA.13, 173-74. This Court’s jurisdiction vests under 28

U.S.C. § 1291 and 18 U.S.C. § 3742(a).




1 “ROA” refers to the record on appeal, which is cited in accordance with 5th Cir. R.
28.2.2.

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                     STATEMENT OF THE ISSUES

      I.    Is the life sentence procedurally and substantively reasonable

under plain-error review?

      II.   Is the amount of restitution for losses to “K.C.” and “E.E.”

plainly erroneous?

                        STATEMENT OF THE CASE

      A.    Course of Proceedings and Disposition Below.

      Etheridge and his co-defendant, Alicia Cronkhite, were charged in

a six-count indictment for sexual offenses against children. ROA.39-42.

Etheridge pleaded guilty under a written plea agreement to two counts

of production of child pornography, in violation of 18 U.S.C. § 2251(a)

(Counts One & Two) and coercion and enticement of a minor, in violation

of 18 U.S.C. § 2422(b) (Count Three). ROA.324-26. The plea agreement

did not contain an appellate waiver.              The district court imposed

concurrent 360-month sentences on Counts One & Two to run

concurrently with a life sentence on Count Three. ROA.167, 321.2




2 The court mistakenly referred to Count Three as Count Four during the sentencing

hearing. ROA.194, 321.
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    B.     Statement of Facts.

           1.    Etheridge’s incestuous rape of his four-year-old
                 daughter “E.E.” and sexual assault of Cronkhite’s six-
                 year-old daughter “K.C.”

      The plea agreement did not contain a factual basis, therefore the

summary below comes from the undisputed facts in the PSR.                     The

Department      of   Homeland   Security       (DHS),     Homeland      Security

Investigation (HSI), and the Rio Grande Valley Child Exploitation

Investigation Task Force (RGV CEITF) unit in McAllen, Texas,

participated in the investigation of this case. ROA.330; PSR ¶ 9. On

October 1, 2020, Special Agents with RGV CEITF responded to a referral

from the National Center for Missing and Exploited Children (NCMEC)

about a suspect who was producing and uploading 323 images and video

files of child pornography to a Google account. ROA.330; PSR ¶ 10. The

Google account was registered to Etheridge.             ROA.330; PSR ¶ 11.

Multiple files were produced by Etheridge and uploaded to his email

account.   ROA.330; PSR ¶ 10.         The agents picked a representative

sample of three files to confirm the presence of child pornography.

ROA.330; PSR ¶ 12. The first video file, approximately 30 seconds in

length, depicted a minor child aged four to five sitting on a bed.


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ROA.330-31; PSR ¶ 13. An adult male stood next to the bed and forced

the minor to perform oral copulation on his erect penis for the entirety

of the video. ROA.331; PSR ¶ 13.

     The second video file, approximately 42 seconds in length, depicted

a minor child aged four to five years old standing in a bathroom. An adult

male masturbated and encouraged the child to manually stimulate and

perform oral copulation on his erect penis. ROA.331; PSR ¶ 14.

     The third video file, approximately 33-seconds in length, depicted a

minor child approximately four to five years old. ROA.331; PSR ¶15. An

adult male masturbated and forced the minor female child to perform

oral copulation on his erect penis. ROA.331; PSR ¶ 15. After agents

viewed these three representative samples, the investigation continued.

ROA.331; PSR ¶ 15.

     On October 2, 2020, Special Agents executed a federal search

warrant at Etheridge’s house in McAllen, Texas. ROA.331; PSR ¶ 16.

Agents discovered text messages and images indicative of the production

of child pornography transferred between Etheridge and Cronkhite, one

of the contacts on Etheridge’s phone. ROA.331; PSR ¶ 16. An excerpt

from one of their text messages appears below:


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     08/13/2020: from Reid Etheridge: “Now send sexy pics”
     08/13/2020: from Alicia Cronkhite: “Of (minor victim “K.C.”)?
     I promise I will try hahaha”
     09/06/2020: from Reid Etheridge: “Send pics of her
     (referring to minor victim K.C.) snatch hahaha”
     09/06/2020: from Alicia Cronkhite: I was poking (minor victim
     K.C.’s) labia and she isn’t moving hahaha”
     09/06/2020: from Reid Etheridge: “in one of those photos of
     her pussy (referring to minor victim K.C.) you can start to see
     the beginnings of secondary sexual characteristics.”

ROA.355; PSR ¶ 16. During the conversation, Cronkhite sent Etheridge

photographs of her daughter’s (minor victim “K.C.”) vagina. ROA.331;

PSR ¶ 17.

     After agents arrested Etheridge, he gave a voluntary post-arrest

statement. ROA.331; PSR ¶ 18. He admitted that he had downloaded

child exploitation material on his Google account, accessed the child

exploitation images and videos from his Google cellular telephone,

understood that his practice of collecting pornography of children under

the age of 18 was illegal, and admitted to becoming sexually aroused and

to masturbating while watching child pornography.                  ROA.331-32;

PSR ¶ 18.

     When the agents showed Etheridge an image of a minor female

from the investigative file, Etheridge admitted that “E.E.” was his four-

year-old daughter. ROA.332; PSR ¶ 18. He admitted that he was the

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adult male subject in the image touching and engaging in sexual conduct

with “E.E.” He admitted rubbing his erect penis on “E.E.’s” vagina.

ROA.332; PSR ¶ 18. Etheridge recalled six occasions in which he engaged

in sexual conduct with his daughter and recorded his acts using his

phone. ROA.332; PSR ¶ 18. After he recorded the sexual assaults, he

would automatically upload the video and image files to his Google

account. ROA.332; PSR ¶ 18. “E.E.” was four years old at the time of the

recorded assaults. ROA.332; PSR ¶ 18. The sexual assaults occurred at

Etheridge’s house and his mother’s house. ROA.332; PSR ¶ 18. He also

admitted that he had engaged in sexual activity with other children.

ROA.332; PSR ¶ 18.

                a.     October 7,         2020,      search of Cronkhite’s
                       residence.

     During the execution of a search warrant at Cronkhite’s house,

agents encountered Cronkhite and a minor female child.                  ROA.332;

PSR ¶ 19. Cronkhite gave the following voluntary post-arrest statement.

ROA.332; PSR ¶ 20. Etheridge was Cronkhite’s ex-boyfriend and they

had dated for approximately two years. Although she had moved out of

Etheridge’s house, they still texted each other and Etheridge would send

her pornography “including videos of midgets and Asian ‘lady boys.’”

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ROA.332-33; PSR ¶ 20. During the two years that they had dated,

Etheridge had access to her six-year-old daughter, “K.C.” She knew that

Etheridge took photographs of “K.C.” bathing. Cronkhite reported that

Etheridge made her take sexually explicit images of “K.C.” ROA.333;

PSR ¶ 20. She left Etheridge in January/February because of his sexual

interest in children but conceded that she continued to communicate with

him until October 1, 2020.      Cronkhite knew that Etheridge would

occasionally take sexual images of six-year-old “K.C.” but she did nothing

to stop it. When agents showed Cronkhite an image of “K.C” lying nude

on the bed in Cronkhite’s bedroom, she confirmed that she had taken the

photo and sent it to Etheridge. Agents then showed her an image of an

exposed vagina of a minor female child being spread open by an adult

hand. Cronkhite admitted that she had taken the picture of “K.C.” and

sent it to Etheridge. According to Cronkhite, Etheridge asked her to

sexually abuse six-year-old “K.C.” and told her that he wanted to have

sex with her child. Etheridge walked around nude in front of “K.C.” and

sent Cronkhite images of his four-year-old daughter “E.E.” rubbing his

penis. He asked Cronkhite to produce child pornography of “K.C.” on

approximately 10 occasions. ROA.333; PSR ¶ 20.


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                b.     Etheridge recorded the incestuous rapes of
                       his four-year-old daughter “E.E.” and the
                       sexual assaults of six-year-old “K.C.”

     On October 14, 2020, agents executed a search warrant for

Etheridge’s Google account. An extensive review of the information was

conducted and the following five files provided a representative sample.

     The first video file, approximately 25 seconds in length, depicted

four-year-old victim “E.E.” and Etheridge. ROA.333; PSR ¶ 22. “E.E.”

appeared on the bed nude from the waist down. Etheridge was also nude

from the waist down. Etheridge vaginally penetrated “E.E.” with his

erect penis. Approximately 16 seconds into the video, the camera panned

up and showed Etheridge holding up a black cellular telephone and

recording himself vaginally penetrating four-year-old “E.E.” The camera

panned back down and recorded a close-up view of Etheridge’s erect penis

vaginally penetrating “E.E.” for the remainder of the video. ROA.334;

PSR ¶22.

     The second video file is approximately two minutes and thirty-eight

seconds in length. Four-year-old “E.E.” sat on a couch at Etheridge’s

residence wearing only leggings. Etheridge masturbated his erect penis

while “E.E.” sat on his lap. At time stamp fifty-four seconds, “E.E.”


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climbed off Etheridge’s lap and he stood up, removed “E.E.’s” leggings,

and began to change her diaper. After he removed “E.E.’s” diaper and

wiped her vagina, Etheridge knelt between “E.E.’s” legs, forced his erect

penis into “E.E.’s” exposed vagina and vaginally penetrated her for the

remainder of the video. ROA.334; PSR ¶ 23.

       The third file, approximately 1 minute and 6 seconds in length,

showed six-year-old “K.C.” lying on a bed wearing a t-shirt and shorts.

Etheridge was also on the bed completely nude.                “K.C.” stimulated

Etheridge’s erect penis for the camera while Etheridge smiled.                 The

masturbation continued for the remainder of the video. ROA.334; PSR

¶24.

       The fourth file, approximately 26 seconds in length, showed “K.C.”

in a living room. Cronkhite appeared on the video leaning against a

couch eating soup. Etheridge sat on the couch wearing a black shirt and

gray underwear pulled to the side to expose his erect penis. While “K.C.”

stimulated Etheridge’s exposed and erect penis with her hand, Cronkhite

told “K.C.” that she would eat all of the cinnamon rolls. When “K.C.”

protested, Cronkhite poked her in the cheek with a spoon. During the

entire conversation with “K.C.,” Cronkhite sat next to “K.C.” watching


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and smiling while her daughter stimulated Etheridge’s erect penis.

ROA.334-35; PSR ¶ 25.

     The fifth video file, approximately 16 seconds in length, appeared

to be a continuation of the fourth video depicting the sexual assault of

“K.C.” because it occurred in the same living room. “K.C.” wore the same

clothes that she wore in the fourth video file. Cronkhite and Etheridge

sat on the couch wearing the same clothes as in the fourth video.

Etheridge’s gray underwear was pulled aside to expose his erect penis.

“K.C.” asked, “They never play with people’s penises like me?” Etheridge

responded, “Do you like my penis, do you like it a lot?” “K.C.” replied

“Yes” and nodded. “K.C.” asked, “Is this pee stuff?” Etheridge responded

“Yes” at the end of the video. ROA.335; PSR ¶ 26.

     The probation officer summarized Etheridge’s role in the offense as

follows:

     Reid Etheridge’s role in the instant offense was to produce
     and upload multiple files of child exploitation material to his
     Google account etheridge.***@ gmail.com. Reid Etheridge
     would sexually assault his daughter, identified as E.E., a four-
     year-old-female, he would film the sexual assaults utilizing
     his cellular telephone as a recording device, and he would
     upload the files to his Google account. In addition, Reid
     Etheridge would communicate with co-defendant, Alicia
     Cronkhite, via text messages. Reid Etheridge would request
     Alicia Cronkhite to produce child exploitation material of her

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      daughter, identified as K.C., a six-year-old female, to which
      Alicia Cronkhite would comply. Alicia Cronkhite sent several
      photographs, utilizing her cellular telephone, depicting the
      lewd and lascivious display of minor victim K.C.’s vagina.
      Alicia Cronkhite and Reid Etheridge also arranged to meet for
      the purpose of allowing Reid Etheridge to engage in sexual
      acts with K.C.       Reid Etheridge also produced child
      exploitation material involving K.C. in the presence of Alicia
      Cronkhite.

ROA.359-60; PSR ¶ 29.

      With respect to Counts One and Two, production of child

pornography, the mandatory minimum term of imprisonment is 15 years

and the maximum is 30 years under § 2251(a). Etheridge’s adjusted

offense level of 43 automatically resulted in life imprisonment under the

Chapter 5 Part A of the advisory Guidelines. ROA.339; PSR ¶ 593.

However, because the statutory maximum is 30 years, the guideline

imprisonment range became 360 months. ROA.342; PSR ¶ 75.

      With respect to Count Three, coercion of a minor, the mandatory

minimum term of imprisonment is 10 years and the maximum is life

imprisonment under § 2422(b). ROA.342; PSR ¶ 77. Based upon a total




3 Etheridge’s original offense level was 46, which exceeded the maximum level of 43,

because of numerous Chapter Two adjustments. ROA.337-39; PSR ¶ 54.
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offense level of 43 and a criminal history category I, the advisory

guideline range became life imprisonment. ROA.342; PSR ¶ 78.

           2.    The psychologist’s report.4

     At the time of his arrest, 41-year old Etheridge worked as a

professor in the Mathematics Department at South Texas College in

McAllen, earning $53,000 a year.            ROA.341; PSR ¶ 72.        Prior to

sentencing, Etheridge sought a court-appointed psychologist to assess his

risk of recidivism. ROA.87. In his request, Etheridge acknowledged that

he faced a life sentence. ROA.400.          The court eventually appointed

psychologist Dr. Stephen Thorne, Ph.D., to conduct the assessment after

numerous orders requesting that Etheridge comply with financial and

other statutory requirements. ROA.407-09, 411-13, 415-20, 464.

     Dr. Thorne conducted a three-hour interview with Etheridge by

videoconference during which he administered two psychological and

actuarial assessments to predict recidivism: the Risk for Sexual Violence

Protocol (RSVP); and the Static-99R.         ROA.469-70.     The doctor also




4 Etheridge’s last name is misspelled in the report. Compare ROA.39, 324 with
ROA.469-82.
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assessed “research-based risk factors” and “relevant mitigating factors.”

ROA.480-81.

     During the interview, Etheridge acknowledged that he had engaged

in sexually deviant behavior with his pre-pubescent daughter and

Cronkhite’s   pre-pubescent    daughter.          ROA.470.       He     further

acknowledged viewing, producing, and distributing images of child

pornography. ROA.470. The doctor’s factual recitation of the offenses of

conviction tracked the undisputed facts in the PSR. Compare ROA.470-

76 with ROA.330-36.

     Dr. Thorne administered the RSVP, which consisted of 22 risk

factors related to: sexual violence history; psychological adjustment;

mental disorder; social adjustment; and manageability. ROA.477. The

doctor used the presence or absence of the risk factors to assess

Etheridge’s risk for future sexual violence.        ROA.477.      Dr. Thorne

concluded that “Mr. Etheridge is a ‘moderate’ risk for future sexual

recidivism, with such an opinion being largely influenced by his alleged

lack of additional (independent of the circumstances relating to the

instant offenses) documented (via arrest or conviction) sexually

deviant/violent behavior, his apparent history (for much of his adult life)


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of employment stability, a lack of documented (via arrest or conviction)

non-sexually criminality and/or violent behavior, and (since being

arrested and detained in October 2020) his overall institutional

adjustment. Nevertheless, the doctor identified “areas of concern:”

     •       Etheridge’s history of unhealthy alcohol use and what
             may     be     considered    significant    psychiatric
             symptomatology;

     •       a    history     of    relationship       instability     and
             limited/ineffective coping skills;

     •       a reported history (growing up) of being physically and
             sexually abused by his biological father and an adult
             female friend of his biological mother;

     •       his apparent lack of insight into the various aspects of
             his own functioning;

     •       a history of excessive and/or unhealthy alcohol use, and

     •       the fact that the instant offenses [sic] consistent of Mr.
             Etheridge having (on numerous occasions over time)
             engaged in various sexually deviant acts with his 3-4
             year-old biological daughter and a 6-year-old
             extrafamilial girl victim (and also having produced and
             distributed acts of child pornography relating to these
             sexually deviant acts).

ROA.477-78.

     Etheridge’s “+1” score on the Static-99R placed him in the

“Average” risk category for committing another sex offense. ROA.478.


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Etheridge’s score was “based on [sic] assumption that he would be

released into the community prior to his 60th birthday; if he is released

into the community on, or after, his 60th birthday, his overall Static-99R

would be revised.” ROA.478. Recidivism predictions for “+1” scores for

five years ranged from 2.7% to 3.7% and 10 years ranges from 3.9% to

6.7%. ROA.478.

      Under “Summary and Opinions” Dr. Thorne made the following

conclusions. With respect to Etheridge’s sexual assaults on his four-year-

old biological daughter “E.E.” and the six-year-old extrafamilial female

victim “K.C.,” Dr. Thorne indicated that the victim characteristics were

important. ROA.480. Relying on “research-based risk factors,” the doctor

noted that offenders who target younger boy victims and extrafamilial

victims (instead of incestual victims) were at higher risk for reoffending.

ROA.480. “K.C.” was an extrafamilial victim. ROA.333; PSR ¶ 20.

      Under “research-based risk factors,” the doctor noted disturbing

details related to prior acts of bestiality and incest:

      Mr. Etheridge did report having (primarily, though not
      exclusively, while in college) engaged in excessive
      masturbation, having (on 1 occasion as a teenager) inserted
      his penis into a female dog’s vagina (and also having
      attempted to do so on another occasion), having (on several
      occasions when he was approximately 9 years old) performed

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     oral sex (as the active participant) on (and fondled the vagina
     of) his younger sister (who he indicated was, at the time, 3
     years old), and having (as an adult) consumed [sic] incest-,
     bestiality-, and (simulated) violence-related pornography.
     Furthermore, Mr. Etheridge (who has been married on 3
     different occasions, and indeed currently appears limited in
     his ability to engage in healthy, age-appropriate,
     interpersonal relationships) does appear to have a history of
     relationship instability, and sex offenders lacking in (healthy)
     social support have been shown to have higher levels of sexual
     recidivism. Finally, as indicated previously, Mr. Etheridge
     does appear to have a history of psychiatric impairment and
     symptomatology that has the potential to increase the
     likelihood of impulsive behavior and/or poor judgment.

ROA.480.

     With respect to “relevant mitigating factors,” the doctor noted that

sex offenders who do not have prior sex offense convictions tend to have

lower rates of sexual re-offense than those who have multiple sex offense

convictions. ROA.480.

           3.   Sentencing memoranda.

     In his objections to the PSR, Etheridge sought a downward

departure to level 43, based upon “coercion and duress” under U.S.S.G.

§ 5K2.12. ROA.77. Etheridge argued that he was “also a victim” because

he was “physically and sexually abused by his father” between the ages

of six and ten. ROA.77.



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     Defense counsel filed a lengthy sentencing memorandum, with

letters from Etheridge’s mother and two friends.           ROA.499-529.     In

consideration of 18 U.S.C. § 3553(a)(1), the memorandum discussed

Etheridge’s history including, inter alia, absence of criminal history,

incidents of self-harm, status as a 6th generation alcoholic, victim of

sexual molestation by his father and his mother’s friend. ROA.503-07.

With respect to the nature and circumstances of the offense, the

memorandum merely referenced the undisputed facts in the PSR.

ROA.507; see § 3553(a)(1). With respect to the § 3553(a)(2) factors of

seriousness of the offense, respect for the law, and just punishment, the

memorandum provided extensive statistics on offenders who engaged in

child sex offenses, noting that the majority involved child pornography

offenses. ROA.507-12. Defense counsel noted that, “It is so easy to fall

into the ‘hysterics bandwagon’ of this case due to the severity of the facts

and circumstances” but requested the court’s leniency. ROA.513.

     In response to Etheridge’s request for a downward departure for

“coercion and duress,” the prosecutor made two points in the

Government’s sentencing memorandum. ROA.494. First, the abuse by

Etheridge’s father occurred more than 30 years ago. ROA.494. Second,


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Etheridge failed to explain how he was under any threat of physical harm

or coercion when he videotaped himself sexually assaulting “E.E.” and

“K.C.” ROA.494.

     The prosecutor argued that Etheridge should not receive a lighter

non-guideline      sentence   based     upon   the   egregious     nature     and

circumstances of the offense and the defendant’s history and

characteristics.     ROA.494; see § 3553(a)(1).         The prosecutor cited

Etheridge’s long and varied collection of child pornography dating back

years before his instant arrest. ROA.494. Moreover, the prosecutor

noted that Etheridge had begun producing his own child pornography

videos with “K.C.” and “E.E.” two years before his arrest. ROA.495.

Thus, although Etheridge had no prior arrests or convictions related to

child sexual abuse, he had engaged in sexual abuse for years

unapprehended.        ROA.495.    Further, Etheridge had recruited co-

defendant Cronkhite to gain access to “K.C.” ROA.495.

     The prosecutor disagreed with Etheridge that the Guidelines

overstated his culpability and that the range was “overly harsh.”

ROA.495.     Etheridge not only sexually abused the children, but

memorialized his abuse by creating videos and images.                  ROA.496.


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Imposing a non-guideline sentence would result in a flagrant disregard

for the impact of the abuse on four-year-old “E.E.” and six-year-old “K.C.”

ROA.496.    Based upon Etheridge’s “overwhelming sexual interest in

children,” which he “repeatedly and continuously” acted upon, the

prosecutor argued that Etheridge was very dangerous and his behavior

warranted a guideline sentence of life imprisonment to achieve the goals

of § 3553(a). ROA.497.

           4.    Victim impact statements.

     The United States sent victim impact forms to the parents of “K.C.”

(Mr. Cronkhite) and “E.E.” (Ms. Trevino). The instructions asked the

victims to identify the harm caused as a result of the offenses and any

financial loss incurred. ROA.396. The instructions also informed the

victims that any information they provided would be considered by the

court toward the imposition of sentence and restitution. ROA.396. Only

Ms. Trevino cooperated and completed a statement.            ROA.396.      Ms.

Trevino reported that while both she and “E.E.” had completed state-

funded counseling with the “Children’s Advocacy Center,” neither were

fully healed. ROA.396. As of July 2021, “E.E.” had not made an outcry

statement in counseling about the sexual abuse she sustained at the age


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of four in 2020. ROA.396. “E.E.’s” counseling therefore “focused on body

safety issues & coping mechanisms.” ROA.396. Ms. Trevino documented

“minimal” medical expenses. ROA.397. She did not know whether “E.E.”

remembered the assaults and did not know how the assaults would affect

“E.E.” in the future. ROA.399.

           5.   The sentencing hearing.

     At the start of the sentencing hearing, the district court stated that

Dr. Thorne’s report was “disturbing” in its conclusion that Etheridge had

an “average” chance of reoffending, which the court deemed “more than

a slight chance.” ROA.276. The court assured the parties that he had

read all submissions, including letters on Etheridge’s behalf. ROA.278-

81. Because Etheridge was far above the maximum guideline offense

levels, any guideline-related issues would be purely academic. ROA.282-

83. The court invited defense counsel to make mitigation arguments to

support a § 3553(a) variance. ROA.283.

     Defense counsel argued that Etheridge had sustained physical and

sexual abuse in his youth. ROA.283. Defense counsel urged the court

“not to be carried away” on an automatic life sentence and consider the




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statistics offered in the sentencing memorandum regarding recidivism.

ROA.287.

     Judge Crane replied that the statistics defense counsel referred to

in the sentencing memorandum related to child pornography. ROA.287.

Etheridge’s incestuous rapes of his four-year-old daughter “E.E.” and

sexual assaults on a six-year-old “K.C.” were starkly different from child

pornography cases: “most of these . . . were child porn cases and talking

about child porn, but this is, in my estimate, dramatically worse. I mean,

this is not child porn. This is - - I mean, he’s raping his - - I mean, the

victims.” ROA.287. The court elaborated on the distinction between

child pornography and incestuous rape:

     In a child porn case, often, I’ll get these reports that the
     person has a fetish or a curiosity or – in observing the children
     in sexual acts but have never acted out. I get the reports
     saying ‘not likely to act out on those.’ ‘This is somebody [sic]
     is just a voyeur.’

     And again, Mr. Etheridge, a completely different individual.
     He is someone who is a pedophile engaged in incestuous
     behavior, violent, repeatedly, multiple victims, again, over, I
     think, a significant period of time. We’re all left to wonder if
     they were [sic] there were other victims that were antecedent
     to the discovery of these events, and I took a lot of interest in
     this evaluation of him. What’s the expert going to say?




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     And I just put a lot of weight in that deciding, well, what’s - -
     how do we protect future - - potential future victims from
     someone such as Mr. Etheridge?

                                   ***

     It’s hard to fathom, and really, there is - - the psychiatrist or
     psychologist doesn’t really explain that, other than just to say,
     this is where he is, and then, does some evaluation, does some
     diagnostic testing and statistics are provided, and he
     ultimately says, “Look, I can’t guarantee you that he’s not
     going to do this again. In fact, I’d say he has an average
     change of reoffending.’

     That’s very concerning to the Court. I mean, this is just a
     horrible, horrible crime, and I am - - you used the words ‘swept
     up.’ I’m not swept up. The facts in this case are just so
     horrible, it is - - you are very concerned about protecting other
     children.

     And again, this is somebody who - - and I’m not trying to make
     the Government’s argument for them - - but this is somebody
     who groomed somebody else to give up their child, so that he
     could, then, have sexual interaction with another
     prepubescent child besides his own.

     And again, it appeared to the Court, that unchecked, he would
     have gone to somebody else; and as you mentioned, untreated.
     If this mental disease that he suffers from, I mean, I have no
     doubt that there would have been future victims, and I worry
     that there were past victims also that haven’t made a cry out.
     So again, I just put a lot of weight in what the psychologist
     says, and I’m just worried about that.

ROA.287-89. The court pointedly asked defense counsel whether he had

correctly read Dr. Thorne’s report:


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     THE COURT: So obviously, one of the sentencing factors is
     to protect the public. And so I looked at the evaluation that
     was done where, I believe, a large part of the evaluation was,
     is he somebody that is going to harm people in the future?
     Does - - is this deviant sexual behavior something that is going
     to reappear? And so the psychologist, in focusing on that, says,
     ‘I think, there is an average chance that that will happen,’ is
     how I read the report. Again, I’m - -

     DEFENSE COUNSEL: He did - -

     THE COURT: - - the door is open for you, though, to disagree
     or to suggest that it says something otherwise or point it out to
     me.

     DEFENSE COUNSEL: He does say that, Your Honor, but he
     also says that all of this is based on an assumption. I mean,
     based on the studies that he did. And he also states, in
     conjunction with that that a large majority of adult sex
     offenders do not - -

     THE COURT: Uh-huh.

     DEFENSE COUNSEL: - - reoffend sexually.

ROA.290 (emphasis added). Defense counsel never objected that the

court: 1) misunderstood Etheridge’s recidivism risk on the Static-99R to

be “average,” instead of a single-digit likelihood or 2) misunderstood that

the Static-99R was contingent on Etheridge’s release before age 60.

Defense counsel requested a 20 to 30 year sentence. ROA.292.

     Turning to restitution, the court advised Mr. Cronkhite, “K.C.’s”

father, that restitution could be ordered for the victims upon request.

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ROA.302-04. Mr. Cronkhite never submitted a victim impact statement

and therefore was unaware that restitution was an option. ROA.303.

The court explained that emotional trauma could manifest in “K.C.’s”

teenage years, for which restitution would cover her medical treatment:

     I’m just speculating as to when you might have some
     emotional issues manifest but for the sake of discussion, let’s
     suppose, during the teenage years, the victim starts to
     remember more, maybe there are some events that trigger her
     memory more and will need, I mean, have you considered
     they’ll need - - this victim will need more intense therapy
     during those years, or some event causes her to remember this
     in a traumatic way?

ROA.303. Mr. Cronkhite informed the court that he was displeased with

his daughter’s current psychologist and wanted a new doctor. ROA.303.

He had paid out-of-pocket for his daughter’s visits to her psychologist.

ROA.303. The court explained that Mr. Cronkhite could be reimbursed

for expenses incurred for past and future therapy, and that Mr.

Cronkhite could give an estimate of his future expenses without

mathematical precision. ROA.304. Mr. Cronkhite initially declined to

give an estimate. ROA.304. The court explained that Etheridge had

available funds that would not benefit the victims unless some estimate

of loss was given. ROA.304. The court stated, “I mean, this is your

chance to help the victim here. I mean, I know you’re reluctant, but - - ”

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ROA.304. Mr. Cronkhite estimated that he had spent $2,000 to date on

mental health fees for “K.C.” ROA.305. The court inquired whether Mr.

Cronkhite estimated a similar expense of $1,000 a year over the next five

or six years or into her teenage years. ROA.303, 305. Mr. Cronkhite

agreed that that was a reasonable estimate. ROA.306.

     Ms. Trevino, the mother of Etheridge’s four-year-old daughter

“E.E.” whom Etheridge had raped, also spoke about restitution.

ROA.309. Although she had received free treatment for her daughter to

date, she ‘fear[ed]    . . . that there may be expenses in the future.”

ROA.309. She and “E.E.” were still living in the house where the rapes

occurred.   ROA.310.      “E.E.” recalled some of the encounters with

Etheridge. ROA.311. As soon as “E.E.” started to talk about them, she

would stop and say, “Oh, I shouldn’t talk about this.” ROA.311. The

court believed from the videos and physical descriptions of the two rapes

that four-year-old “E.E.” had been physically injured and asked whether

the child had received medical care. ROA.311. Ms. Trevino responded

that the exam did not reveal any physical injuries. ROA.311. In response

to the court’s question about therapy expenses that might manifest later




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because of “E.E’s” young age, Ms. Trevino stated that she had concerns

for future therapy. ROA.312.

     The prosecutor stressed that while this was Etheridge’s first

prosecuted offense, it involved two victims and was “a continuous act over

the course of a long period of time.” ROA.314. In addition to the physical

abuse committed by Etheridge, he had collected hundreds of videos and

files of child pornography, confirming his obsessive interest in the

children. ROA.314. Further, the prosecutor emphasized that Etheridge

videotaped the abhorrent sexual assaults against the children in order to

“memorialize[] them” and “relive it.” ROA.314-15. For this reason, the

prosecutor concluded that Etheridge was extremely dangerous in his

desire to keep reoffending with his own victims by videotaping the

assaults.   ROA.315.   The prosecutor requested life imprisonment to

protect any future child victims. ROA.315.

     Prior to pronouncing sentence the court explained this case was

rare because it involved incestuous pedophilia:

     I’ve been watching this case since its inception because of its
     seriousness and very unusual nature. It’s very rare that I see
     incestuous pedophilia; and although I have seen in other cases
     in criminal history of Defendants, but it is extremely unusual,
     and just given the really violent and horrible acts that were
     videotaped in this case, I am very concerned about a fair

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     sentence; and therefore, I’ve made sure that we had
     psychological evaluations, I gave lots of time to anybody - -
     any side that wanted to submit additional materials, and I’ve
     carefully reviewed all of them.

     I have reset the sentencing hearing multiple times because I
     wanted to leave no stone unturned given how serious this was,
     but I’m still convinced that the sentence I’m going to
     pronounce is the fair one. It’s what I arrived at when I - - in
     preparing for today, but was open-minded to anything that
     might occur here before making an ultimate decision.

ROA.318.

     The court remarked that the PSR was correctly scored at level 43,

recommending a life sentence. ROA.318. Judge Crane pronounced a life

sentence in consideration of “all of the 3553(a) factors, which again, I

have considered very closely, I feel as though that guideline sentence is

a fair one here largely because of my concern and fear that Mr. Etheridge

is going to reoffend.” ROA.318. The court elaborated on the nature

Etheridge’s horrific acts of abuse and his personal characteristics:

     The behavior is so horrific, and the mind has to be so deranged
     that I don’t think therapy is going to cure Mr. Etheridge or
     prevent him from having these fantasies about molesting
     children. I don’t think he can ever be trusted in the presence
     of children.

     Mr. Etheridge is very smart, and I believe, having read the
     text interchanges between him and Ms. Cronkhite, that he
     was very calculating in grooming her to allow her child to be
     victimized, and then, when he was done with Ms. Cronkhite,

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     my belief is that his intent was to move on to someone else.
     And so therefore, I believe the life sentence is appropriate. So
     Mr. Etheridge is committed to the BOP for a term of life.

ROA.318-19. In the event of Etheridge’s release, the court imposed a life

term of supervised release and other conditions restricting contact with

minors. ROA.319.

     With respect to restitution for “K.C.,” for whom Mr. Cronkhite

spoke, the court ordered $2,000 in past restitution and $10,000 for future

restitution, for a total of $12,000 to be paid immediately. ROA.197, 320.

The court concluded that “E.E.” would need similar care based upon the

statements made on behalf of “K.C.” ROA.320. Therefore, the court

ordered $10,000 in restitution for “E.E.’s” future therapy to be paid

immediately. ROA.198, 320.       The judgment reflected a total loss of

$12,000 to “K.C.” and $10,000 for “E.E.” with the corresponding

restitution awards. ROA.197-98.

     The court imposed 360 months of imprisonment on Counts One and

Two to run concurrently with each other and concurrently with life

imprisonment on Count Three. ROA.194, 321.




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                  SUMMARY OF THE ARGUMENT

     I.    For the first time on appeal, Etheridge argues that his

sentence is procedurally and substantively unreasonable because the

district court misunderstood the Static-99R assessment in two ways.

First, he claims that the district court misunderstood Etheridge had a

“average” chance of recidivism, instead of a single-digit likelihood.

Second, he asserts that the district court misunderstood that the

“average” rating was premised upon a release date before the age of 60.

The district judge made clear that he had read Dr. Thorne’s entire report.

No evidence exists in the record that the district court misunderstood the

Static-99R portion of Dr. Thorne’s report. Etheridge’s unsupported and

conclusory allegations are insufficient to satisfy the first two prongs of

plain-error review.

     In any event, Etheridge cannot demonstrate that his substantial

rights were affected even if the district court somehow misapprehended

the Static-99R results. The doctor administered other assessments, the

RSVP and the “research-based factors,” in which he expressed serious

concerns for Etheridge’s recidivism risk. Those included, inter alia, a

history of bestiality, sexual abuse of Etheridge’s three-year-old sister on


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multiple occasions, relationship instability, and selection of an

extrafamilial victim in “K.C.” The district court properly exercised its

discretion to credit the areas of concern in the doctor’s report.

      Even under the last prong of plain-error, Etheridge cannot make a

persuasive argument. The Static-99R related to only one sentencing

factor — protection of the public under § 3553(a)(2)(C). The district court

equally considered the § 3553(a)(1) factors of nature of the offense and

Etheridge’s characteristics. Defense counsel urged the court not to get

“carried away” by the facts of the case and offered child pornography

recidivism statistics. The court distinguished Etheridge’s videotaped

incestuous rape of four-year-old “E.E.” and sexual assault of six-year-old

“K.C.” from voyeurs of child pornography. The court emphasized that the

facts of Etheridge’s offense were incestuous, violent, consistent, and

recorded. He also groomed Cronkhite to offer up her own child for his

sexually deviant acts.

      While Etheridge had no prior convictions, he had admitted to past

bestiality, sexual assault of his three-year-old sister, and maintenance of

a   child   pornography     collection.      Etheridge’s     life   sentence   is

commensurate with other life sentences imposed on similar facts. Under


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plain-review, his challenge to the court’s interpretation of the Static-99R

assessment fails.

     II.   The district court properly assessed restitution of $12,000 for

“K.C.” and $10,000 for “E.E.” “K.C.’s” father testified that he had spent

$1,000 for the past two years on “K.C.’s” therapy because of Etheridge’s

sexual assaults. Mr. Cronkhite believed that he would spend the same

sum each year into “K.C.’s” teenage years. The district court properly

exercised its discretion in crediting this testimony and in awarding

$2,000 in restitution for past therapy expenses and $10,000 for future

expenses. No error, plain or otherwise, exists in the restitution award.

     Ms. Trevino’s victim impact statement explained that both she and

“E.E.” had received past state-funded therapy for Etheridge’s rapes of

their daughter.     In her written statement and in her testimony at

sentencing, she feared incurring future therapy expenses because her

daughter, aged five around the time of sentencing, had not yet made an

outcry statement and was not emotionally healed.                Fashioning a

reasonable estimate based upon the similar kind of harm imposed upon

“K.C.” and her therapy expenses, the court arrived at a sum of $10,000

in future therapy expenses for “E.E.”          The district court did not


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arbitrarily choose that amount.        Rather, the court’s calculation was

consistent with “K.C.’s” award and similar restitution awards for future

therapy for sexually exploited children.

     Should this Court disagree that the evidence is insufficient to

sustain the restitution award for “E.E.,” precedence requires remand for

the court to consider supplemental evidence of her future therapy

expenses. The district court properly credited Ms. Trevino’s testimony

that “E.E.” had received past therapy and that future therapy was

anticipated. Under similar circumstances, this Court has rejected the

invitation to zero-out a restitution award and harm the child victim. It

should do so here as well if it does not affirm the restitution order.

                              ARGUMENT

                                       I.

     The sentence of life imprisonment is procedurally and
     substantively reasonable under plain-error review.

     A.    Plain-error review.

     A reasonableness review of a sentence is a bifurcated process. Gall

v. United States, 552 U.S. 38, 51 (2007). At the first step, this Court

considers whether the district court committed “significant procedural

error,” such as the erroneous assessment of evidence. See United States

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v. Castillo, 430 F.3d 230, 238-39, 243-44 (5th Cir. 2005). If there is no

significant procedural error, this Court proceeds to the second step under

the Gall analysis and considers the substantive reasonableness of a

sentence. Gall, 552 U.S. at 51. A within-Guidelines sentence, as here, is

presumptively reasonable. See United States v. Vargas, 21 F.4th 332, 337

(5th Cir. 2021) (citation omitted). To rebut the presumption, Etheridge

must show that his sentence fails: (1) to account for a factor that should

have received significant weight; (2) gives significant weight to an

irrelevant or improper factor; or (3) represents a clear error of judgment

in balancing the 18 U.S.C. § 3553(a) sentencing factors. See id.

      Where a defendant fails to assert a procedural error, review is for

plain error. United States v. Coto-Mendoza, 986 F.3d 583, 585 (5th Cir.),

cert. denied, 142 S. Ct. 207 (2021) (citing Molina-Martinez v. United

States, 578 U.S. 189, 194 (2016)); United States v. Whitelaw, 580 F.3d

256, 259 (5th Cir. 2009); United States v. Jones, No. 21-10916, 2022 WL

807997 at *1 (5th Cir. 2022) (unpublished)5.




5  Unpublished cases from this Circuit after January 1996 are not controlling
precedent but may be considered as persuasive authority. Ballard v. Burton, 444
F.3d 391, 401 & n.7 (5th Cir. 2006); 5th Cir. R. 47.5.4.
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     Etheridge acknowledges that he did not specifically object to a

procedural error but nonetheless argues that his argument is preserved

under Holguin-Hernandez v. United States, __ U.S. __ , 140 S. Ct. 762

(2020), because he requested a lesser sentence. Appellant’s Brief, 24.

This Court rejected Etheridge’s preservation argument in Coto-Mendoza,

where the defendant argued on appeal that the sentence was

procedurally unreasonable because the district court failed to explain its

sentence. 986 F.3d at 588. Conceding that he had failed to object, Coto-

Mendoza argued that no separate objection was necessary to preserve his

procedural-reasonableness challenge under Holguin-Hernandez.

     In Holguin-Hernandez, the Supreme Court held that to preserve a

substantive reasonableness challenge, it was sufficient to communicate a

specific sentence or to argue that a sentence was “greater than

necessary.” Id. at 766-67. The Supreme Court specifically declined to

decide “what is sufficient to preserve a claim that a trial court used

improper procedures in arriving at its chosen sentence.”            See Coto-

Mendoza, 986 F.3d at 586 (quoting Holguin-Hernandez, 140 S. Ct. at 767

(opinion), 767 (Alito, J., concurring). This Court thus refused to extend

the holding in Holguin-Hernandez to Coto-Mendoza’s procedural-


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reasonableness challenge and reviewed the issue under plain-error

review. Id. at 586. It should do the same here.

     This Court should also reject Etheridge’s claim that by contesting

the length of his sentence generally, he preserved a specific substantive

reasonableness challenge to the district court’s interpretation of the

Static99-R results in Dr. Thorne’s report. This Court previously did just

that in United States v. Zarco-Beiza, 24 F.4th 477, 481-82 (5th Cir. 2022),

where the defendant argued that his general objection to the substantive

reasonableness of the sentence preserved a more specific substantive-

reasonableness objection on appeal. Under Holguin-Hernandez, Zarco-

Beiza argued that he could assert for the first time on appeal that his

sentence was substantively unreasonable because the court improperly

relied upon a bare arrest record. Id. at 480-82. The Supreme Court did

not decide what is sufficient to preserve             precise substantive-

reasonableness arguments, such that a generalized argument in favor of

a lesser sentence would insulate “all arguments regarding the length of

a sentence from plain-error review.”         Id. at 481 (citing Holguin-

Hernandez, 140 S. Ct. at 767 (Alito, J., concurring)). The touchstone of

preservation under Holguin-Hernandez, is whether the claimed error


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was “brought to the court’s attention.” Id. (citing Holguin-Hernandez,

140 S. Ct. at 766).      Zarco-Beiza’s failure to object to the court’s

consideration of a bare arrest record resulted in plain-error review of his

substantive-reasonableness argument. Id. at 481-82.

     This Court has long emphasized the importance of vetting specific

legal arguments below for the district court to consider in the first

instance:

     The purpose of plain error review is to instill in litigators the
     importance of preparing adequately before appearing in trial
     court and, as necessary, clarifying issues to that court.
     Timely, adequate objections allow the trial court to rule in the
     first instance and if necessary, correct itself without spawning
     an appeal. This standard usually shields the district court
     from reversal because of error that was unwittingly
     committed, because not brought to its attention. The
     standard also shields this court from ruling on issues that
     have been insufficiently vetted below. Plain error review
     implicitly acknowledges that, in many cases, an appeal
     represents the triumph of hindsight, as a party attempts to
     shore up objections ineffectively lodged in the trial court, or
     not lodged at all, by adducing after-the-fact support for its
     position. Thus, to afford the standard of harmless error, FED.
     R. CRIM. P. 52(a), to a defendant who makes a vague objection
     in the trial court, followed by a substantial and specific legal
     brief in the appellate court, would undermine the orderliness
     intended by these tiered standards.

United States v. Chavez-Hernandez, 671 F.3d 494, 497 (5th Cir. 2012).




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     Here, Etheridge’s challenges to the reasonableness of his sentence

are reviewed for plain error only. See Zarco-Beiza, 24 F.4th at 481-82;

Coto-Mendoza, 986 F.3d at 585-86.           For the first time on appeal,

Etheridge argues that his sentence was procedurally and substantively

unreasonable because the district court misunderstood Dr. Thorne’s

conclusions on the Static-99R, one of the risk assessments used to

evaluate recidivism.       First, according to Etheridge, the court

misunderstood that Etheridge had an “average” chance of recidivism on

the Static-99R, instead of a single-digit likelihood. Appellant’s Brief, 23.

And second, the court allegedly misunderstood that Dr. Thorne’s

conclusions on the Static-99R were premised upon Etheridge’s release

date before the age of 60. Appellant’s Brief, 23, 29-30.

     Neither of these claims were brought to the district court’s

attention, as required by Holguin-Hernandez, despite the district court

expressly inviting Etheridge to do so at sentencing. See Zarco-Beiza, 24

F.4th at 481 (citing Holguin-Hernandez, 140 S. Ct. at 766 (quoting Fed.

R. Crim. P. 52 (b)).    Judge Crane announced that he had read Dr.

Thorne’s entire report and understood Etheridge had “average” chance of

recidivism. ROA.290. The district court then informed defense counsel


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that the “door was open for you though, to disagree or to suggest that it

says something otherwise or point it out to me.” ROA.290. Etheridge

waived his procedural and substantive reasonableness challenges to the

court’s interpretation of Dr. Thorne’s conclusions on the Static-99R. See

United States v. Cabello, 33 F.4th 281, 295 (5th Cir. 2022) (citing United

States v. Olano, 507 U.S. 725, 732 (1993)). Assuming the issue is not

waived, Etheridge must show 1) error, 2) that is clear and obvious, 3) that

affects his substantial rights, and 4) that the error “seriously affect[ed]

the fairness, integrity or public reputation of judicial proceeding.” See

Zarco-Beiza, 24 F.4th at 482 (citation omitted).

     B.    Zero evidence exists that the                    district        court
           misunderstood Dr. Thorne’s report.

     In his “Summary and Opinions” Dr. Thorne concluded that

Etheridge’s “+1” score on the Static-99R placed him in the “Average”

category for recidivism. ROA.478, 481. Dr. Thorne explained that those

who fall into the “Average” category have predicted recidivism rates of

2.7% to 3.7% for 5-years to 3.9% to 6.7% for 10-years. ROA.478. Texas

sex offenders with a “+1” score rated between 1.4% and 2.6% for

recidivism within 5 years.      ROA.479.     Dr. Thorne noted that the

“Average” category was based upon the assumption that Etheridge could

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be released into the community before his 60th birthday. ROA.478.

     During the sentencing hearing, the court confirmed that he had

read Dr. Thorne’s report in full. ROA.275-76. Etheridge states that the

court viewed “Average” as “50/50,” Appellant’s Brief, 21, but fails to give

any record citation for this statement. Nor does he cite where the court

allegedly misunderstood the “Average” rating or the age-related release

assumption. Etheridge’s reasonableness challenges are unsupported.

Unsupported and speculative arguments do not establish reversible plain

error. See United States v. Guzman-Reyes, 853 F.3d 260, 266 (5th Cir.

2017) (citation omitted). The unpublished cases cited by Etheridge are

distinguishable because none of them involved unsupported speculation.

See United States v. Maldonado, 726 F. App’x 263, 264 (5th Cir. 2018)

(government concession to wrong number of prior deportations); United

States v. Hatley, 717 F. App’x 457, 465-66 (5th Cir. 2018) (district court

erroneously recalled that defendant had testified at another trial); United

States v. Jimenez-Espinoza, 408 F. App’x 823, 824-25 (5th Cir. 2011) (no

evidence of profit to support smuggling enhancement); United States v.

Cruz-Pallares, 396 F. App’x 170, 172 (5th Cir. 2010) (error in deportation

date); United States v. Sanchez, 277 F. App’x 494, 496-97 (5th Cir. 2008)


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(no evidence of multiple conspiracy or participation in lesser conspiracy);

United States v. Guidry, 462 F.3d 373, 376-78 (5th Cir. 2006), overruled

on other grounds as noted in United States v. Warfield, 283 F. App’x 234,

235 (5th Cir. 2008) (district court misread facts in the PSR related to

criminal history). The plain-error analysis ends at the first and second

prongs of review.

     For the sake of completeness, Etheridge fails to demonstrate the

remaining prongs of plain error. He isolates the Static-99R assessment

without considering the doctor’s other conclusions on the RSVP

assessment or on the “research-based risk factors.” While the doctor

rated Etheridge as “moderate” for recidivism on the RSVP, the doctor

concomitantly highlighted six areas of recidivism concern including, inter

alia, alcohol abuse, relationship instability, limited coping skills, history

of sexual abuse, lack of insight into personal functioning, and continuous

sexual deviancy. ROA.478.

     With respect to “research-based risk factors,” the doctor noted that

an offender’s selection of extrafamilial victims represented a higher risk

of recidivism. ROA.480. “K.C.” was an extrafamilial victim. Despite the

absence of documented child sex offenses, via convictions or arrests, the


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doctor highlighted other concerns. Etheridge admitted to committing

deviant and sadistic acts. ROA.480. Etheridge had inserted his penis in

a female dog’s vagina on two occasions, once as a teenager and at another

undisclosed time. ROA.480. He had performed oral sex on his three-

year-old sister on several occasions when he was nine years old.

ROA.480. He had fondled his three-year-old sister’s vagina on several

occasions.   ROA.480.    Etheridge had watched incest, bestiality, and

violence-related pornography. ROA.480. Other factors that heightened

the doctor’s concern for recidivism included: Etheridge’s limited ability

to engage in healthy, stable, age-appropriate, interpersonal relationships

as evidenced by his three failed marriages, and a history of psychiatric

impairment.    ROA.480.      The district court properly exercised its

discretion to decide what portions of the report to credit at sentencing.

See United States v. Cantu-Ramirez, 669 F.3d 619, 628 (5th Cir. 2012).

     Moreover, Dr. Thorne’s report addressed only one sentencing factor,

“protection of the public” under § 3553(a)(2)(C). The court announced

that it had considered “all of the 3553(a) factors.” ROA.318. Judge

Crane’s comments confirmed that the nature and circumstances of the

offense and Etheridge’s characteristics under § 3553(a)(1) justified the


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life sentence as much as the recidivism risk under § 3553(a)(2)(C).

     Under the “nature and circumstances of the offense,” the court

distinguished Etheridge’s acts from those of voyeurs who collected child

pornography. ROA.289. For nearly two years, Etheridge engaged in

incestuous rape of his own four-year old daughter and groomed Cronkhite

to give up her own six-year-old daughter for Etheridge’s assaults — all of

which he personally videotaped. ROA.289.

     Under Etheridge’s characteristics, the district court noted that

while Etheridge had not been previously convicted, he had engaged in

past illegal activity for a continuous period of time before he was finally

caught. Etheridge had admitted to bestiality, sexual assault of his sister

when she was three, and to keeping many child pornography files on his

computer. ROA.480.

     These § 3553(a) considerations were distinct from Dr. Thorne’s

report and justified the court’s sentence of life imprisonment. Before

pronouncing its sentence, the court stressed that the facts of the offense

were “extremely unusual,” “horrific,” and “really violent and horrible

acts” that Etheridge had committed and videotaped. ROA.318. The court

rightly considered and weighted Dr. Thorne’s report and took that into


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consideration with the egregious facts of the offense.          Under these

circumstances, Etheridge cannot establish that his substantial rights

were affected or that the fairness of the proceedings were compromised.

Etheridge disagrees with how the district court weighed the § 3553(a)

factors, which is insufficient to prevail on plain-error challenge to the

reasonableness of his sentence. See United States v. Alvarado, 691 F.3d

592, 597 (5th Cir. 2012).

     Etheridge knew he faced a life sentence when he pleaded guilty.

Life sentences are not uncommon for defendants who commit egregious

sexual crimes against children, as here. See United States v. Trader, 981

F.3d 961, 970 (11th Cir. 2020) (affirming life sentence for defendant who

repeatedly sexually abused his daughters, recorded the incidents,

encouraged others to abuse their own daughters, and possessed a cache

of the most disturbing child pornography the prosecutor and case agent

had ever seen); United States v. Sanchez, No. 22-40133, 2022 WL

17250178 at *1 (5th Cir. 2022) (unpublished); United States v.

McLaughlin, 847 F. App’x 573, 574-76 (11th Cir.), cert. denied, 142 S. Ct.

222 (2021) (unpublished); United States v. Vickers, 683 F. App’x 393, 398-

99 (6th Cir. 2017) (unpublished); United States v. Wares, 689 F. App’x


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719, 724 (3d Cir. 2017) (unpublished). Accordingly, Etheridge’s within-

Guidelines life sentence is reasonable under plain-error review.

                                        II.

      The district court did not plainly err in awarding $12,000 in
      restitution for “K.C.” and $10,000 in restitution for “E.E.”

      A.    Standard of review.

      As he correctly concedes (Appellant’s Brief, 39), Etheridge’s failure

to challenge the amount of restitution for “K.C.” and “E.E.” results in

plain-error review. See United States v. Leal, 933 F.3d 426, 431-32 (5th

Cir. 2019) (reviewing restitution award for child pornography offenses

under 18 U.S.C. § 2259 for plain error). Etheridge must demonstrate that

the restitution awards amounted to error, that is clear and obvious and

that affected his substantial rights. See Leal, 933 F.3d at 431. If these

three conditions are met, this Court may choose to exercise its discretion

and correct the error if it “seriously affects the fairness, integrity or public

reputation of the proceedings.” Id. Even under an abuse of discretion

standard, the restitution award is proper in this case. See Sanchez, at

2022 WL 17250178 at *1 (5th Cir. 2022) (unpublished) (citing United

States v. Villalobos, 879 F.3d 169, 171 (5th Cir. 2018)).



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     B.     Title 18 U.S.C. §§ 2259 & 2429 authorized restitution for
            “K.C.” and “E.E.”

     “A district court may order restitution only if authorized by

statute.” See United States v. Penn, 969 F.3d 450, 458 (5th Cir. 2020).

            1.   Title 18 U.S.C. § 2259.

     Title 18 U.S.C. § 2259 authorized mandatory restitution for “K.C”

and “E.E.” Section 2259(a) provides that “a district court ‘shall order

restitution for any offense’ under Chapter 110 of Title 18.” Paroline v.

United States, 572 U.S. 434, 443 (2014). This covers Etheridge’s offenses

and convictions for production of child pornography in Count One (“K.C.”)

and in Count Two (“E.E.”), violations of 18 U.S.C. § 2251(a). ROA.39-40,

166. Mandatory restitution under § 2259 is proper “only to the extent

[Etheridge’s] offense proximately caused a victim’s losses.” Paroline, 572

U.S. at 448. There is no dispute that Etheridge’s offenses proximately

caused all of “K.C.” and “E.E.’s” losses — the dispute centers on what

those findings are and what evidence supports the district court’s

findings.

     Section 2259 provides that “[t]he court shall determine the full

amount of the victim’s loss that were incurred or are reasonably projected

to be incurred by the victim as a result of trafficking in child pornography

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depicting the victim.” § 2259(b)(2)(A). The “full amount of the victim’s

loss” includes “any costs incurred, or that are reasonably projected to be

incurred in the future, by a victim, as the proximate result of all

trafficking in child pornography offenses involving the same victim.”

§ 2259(c)(2) (emphasis added). Section 2259 sets a minimum restitution

of $3,000 per victim. § 2259(b)(2)(B). The victim’s losses include “medical

services relating to physical, psychiatric, or psychological services,”

“rehabilitation,” and “any other losses suffered by the victim as a

proximate result of the offense.” 18 U.S.C. § 2259(c)(2)(A), (B), and (F);

see United States v. Clemens, 990 F.3d 1127, 1130 (8th Cir. 2021); Leal,

933 F.3d at 433; United States v. Jones, 815 F. App’x 870, 882 (6th Cir.

2020) (unpublished); United States v. Mobasseri, 828 F. App’x 278, 280

(6th Cir. 2020) (unpublished).     “Victim” is defined as an individual

harmed as a result of the crime and includes the legal guardians of minor

victims. §§ 2259(c)(4), 2429(d).

     The district court assessed a loss of $12,000 to “K.C.”— $2,000 for

past therapy expenses and $10,000 for future therapy expenses, to

include her teenage years. ROA.197, 303, 305-06, 319-20. The court

imposed a commensurate $12,000 restitution award. ROA.197. The


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court assessed a loss of $10,00 to “E.E.” for future therapy expenses and

imposed a $10,000 restitution award. ROA.198, 308, 311-12, 320.

           2.    Title 18 U.S.C. § 2429.

     Etheridge also pleaded guilty to Count Three for knowingly and

intentionally coercing or enticing a minor to engage in any sexual

activity, in violation of 18 U.S.C. § 2422(b). ROA.40. Title 18 U.S.C.

§ 2429,   provides     mandatory   restitution      for §   2422(b)    offenses,

notwithstanding the general restitution statutes of 18 U.S.C. §§ 3663 or

3663A. 18 U.S.C. § 2429(a).

     Subsection (b)(1) of § 2429 provides that the “order of restitution …

shall direct the defendant to pay the victim (through the appropriate

court mechanism, the full amount of the victim’s losses as determined by

the court under paragraph (3).” As written, subsection (b)(3) provides:

“As used in this subsection, the term ‘full amount of the victim’s losses’

has the same meaning as provided in section 2259(b)(3).’” § 2429(b)(3)

(emphasis added). In United States v. Kempter, 29 F.4th 960, 969-70 (8th

Cir. 2022), the Eighth Circuit explained the reference to 2259(b)(3)—i.e.,

the “enforcement provision” in § 2259—as a scrivener’s error. Upon

review of the relevant portions of both statutes and the corresponding


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legislative history, the Eighth Circuit concluded that the only reasonable

construction of § 2429(b)(3) was a cross-reference to § 2259(c)(2)—the

statutory provision in § 2259 defining the “full amounts of victim’s losses”

as “any costs incurred, or that are reasonably projected to be incurred in

the future, by the victim, as a proximate cause of the offenses involving

the victims.” Kempter, 29 F.4th at 969-70. For purposes of applying

§ 2429(b)(1), the Eighth Circuit found “no plausible purpose” of

§ 2259(b)(3) when read holistically with the rest of the statute and “no

plausible explanation” as to why § 2429(b) would cite to § 2259(b)(3) other

than Congress failed to update the cross reference. Id.; cf., 18 U.S.C.

§ 1593(b)(3) (mandatory restitution provision correctly cross-referencing

to § 2259(c)(2)). This Court has adopted the approach in Kempter that

the cross-reference to § 2259(b)(3) instead of § 2259(c)(2) is merely a

scrivener’s error. Sanchez, 2002 WL 17250178 at *1. Etheridge does not

mention Sanchez. Appellant’s Brief, 43, n.8.

     Finally, § 2429(b)(2), like § 2259(a), provides that “an order of

restitution under this section shall be issued and enforced in accordance

with section 3664 in the same manner as an order under section 3663A,”

18 U.S.C. § 2429(b)(2).     The Government’s burden under 18 U.S.C.


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§ 3664(e) is to provide the court with enough evidence to allow the court

to estimate the “full amount of the victim’s losses” with “some reasonable

certainty” by a preponderance of the evidence. United States v. Kennedy,

643 F.3d 1251, 1261 (9th Cir. 2011); United States v. Doe, 488 F.3d 1154,

1159-60 (9th Cir. 2007); United States v. Reese, 998 F.2d 1275, 1282 (5th

Cir. 1993). “Absolute precision’ is not required” when calculating the

amount of loss. United States v. Kearney, 672 F.3d 81, 100 (1st Cir. 2012);

United States v. Reasor, 541 F.3d 366, 369 (5th Cir. 2008). The district

court may rely on the Government’s reasonable approximation of loss and

may accept estimates of loss when precision is not possible. United States

v. Futrell, 209 F.3d 1286, 1292 (11th Cir. 2000). Plus, this Court “need

not determine whether the district court’s estimate was the most

reasonable, but rather only that it is a reasonable calculation.” United

States v. Hebron, 684 F.3d 554, 564 (5th Cir. 2012).

     C.    No error that is clear and obvious exists with the
           restitution awards.

     This Court has recognized that it is not unusual for parents of child

victims of sexual abuse crimes to be so traumatized they cannot orally

advocate for restitution at sentencing. In Villalobos, 879 F.3d at 171, the

defendant induced his 11-year-old daughter to take sexually explicit

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photographs of herself and send them to him via Facebook Messenger.

Id. His daughter attended therapy sessions that required the victim’s

mother to miss work. Id. The victim’s mother did not report any dollar

amounts or documents supporting loss. Id. Although the court gave the

victim’s mother an opportunity to speak about her losses for restitution,

she was “unable to speak once she reached the witness stand.” Id. The

prosecutor did not identify any specific loss amounts and the district

court imposed $10,000 in restitution. Id. The court acknowledged that

without documentation or support of any of the victim’s incurred costs,

the court was “swinging a little bit blindly” on the restitution amount.

Id. Villalobos objected that the award was arbitrary and unsupported by

the record evidence. Id. He requested that restitution award be vacated

entirely on remand. Id. This Court sided with the United States and

agreed that upon remand, the victims could provide supplementation to

support their lost wages, travel costs, and therapy expenses. Id. at 172.

     Under the general rule in United States v. Chem. & Metal Indus.,

Inc., 677 F.3d 750, 752 (5th Cir. 2012), the prosecution may not present

new evidence to support restitution on remand where it failed to do so in

the first instance. However, in Villalobos, this Court applied one of the


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recognized exceptions to the general rule. 879 F.3d at 172. That is, this

Court held that “special circumstances” existed to explain why the

evidence was unavailable. Id. The victim’s mother’s “inability to speak

at sentencing” fell within the exception. Id. This Court declined to

impose further harm on the victims and permitted the district court on

remand to consider supplemental evidence to support restitution. Id.

     Other courts have recognized that “the resources often available to

the parties and the Court in a full-blown trial are simply not available in

this type of criminal proceeding.” United States v. Baker, 672 F. Supp.

2d 771, 777 (E.D. Tex. 2009).

     Moreover, [ ] victims of these horrific sexual crimes often lack
     the financial resources to obtain counsel and experts to put
     forth fulsome proof of their current and future losses. The
     statute, however, mandates that the defendant pay the “full
     amount” of “any costs...for physical, psychiatric, or
     psychological care.” 18 U.S.C. § 2259(b). Additionally, the
     Sixth Circuit and other circuits have recognized that
     “[s]ection 2259 is phrased in generous terms, in order to
     compensate the victims of sexual abuse for the care required
     to address the long term effects of their abuse.” United States
     v. Evers, 669 F.3d 645, 656 (6th Cir. 2012) (quoting United
     States v. Laney, 189 F.3d 954, 966 (9th Cir. 1999)).

United States v. DeHate, 2016 WL 3549349, at *6 (E.D. Mich. June 30,

2016) (quoting United States v. Miller, 2015 WL 6689363 (E.D. Mich.

2015)).

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           1.    The $12,000 restitution award for six-year-old “K.C.”

     Here, Mr. Cronkhite, K.C.’s father, did not provide the United

States with a victim impact statement to support any losses that six-year-

old “K.C.” had sustained. See Villalobos, 879 F.3d at 171. At sentencing,

he initially declined to speak. ROA.303-04. Given the egregious nature

of Etheridge’s sexual abuse of six-year-old “K.C.,” Mr. Cronkhite’s initial

reluctance to speak about “K.C.’s” trauma in open court was not unusual.

See Villalobos, 879 F.3d at 170. Unlike the victim’s mother in Villalobos,

Mr. Cronkhite was eventually able to discuss the costs he had incurred

for “K.C.’s” past therapy. ROA.303-05. Over the course of the past two

years, Mr. Cronkhite testified that had spent approximately $2,000 in

out-of-pocket therapy for “K.C.” ROA.305. Mr. Cronkhite estimated that

he would spend the same, approximately $1,000 per year, for at least the

next six years or through her teenage years (approximately 10 more

years). ROA.303, 305-06. The court properly credited Mr. Cronkhite’s

testimony at sentencing. See Reese, 998 F.2d at 1282.

     Etheridge discounts “K.C.’s” future therapy costs because Mr.

Cronkhite wanted to find a new psychologist for “K.C.” Under these

circumstances, Etheridge argues that the future therapy costs become


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speculative. Appellant’s Brief, 47. But the restitution statutes do not

require absolute precision. See Reasor, 541 F.3d at 369. This is especially

true in the context of calculating future therapy costs for minor victims

of sex crimes. See Doe, 488 F.3d at 1159 (recognizing that every circuit

to consider the causation requirement of § 2259 applies a rule of

reasonableness to the district court’s estimation of the victim’s loss).

Consequently, courts allow “a district court significant discretion to make

a reasonable estimate of an amount that reflects the full loss to the

victim.” Id. at 1160 (citing United States v. Danser, 270 F.3d 451, 455

(7th Cir. 2001) and United States v. Julian, 242 F.3d 1245, 1247 (10th

Cir. 2001)).   Such estimates reflect the “strong Congressional intent

behind section 2259,” which is to allow the victims of child sexual abuse

crimes   to    receive   the   counseling     and    treatment      that     they

require. Danser, 270 F.3d at 455; Laney, 189 F.3d at 967 (“[I]f Congress

intended crime victims who required long-term psychological or physical

therapy to receive restitution only after they actually paid their

therapists, it created a strangely unwieldy procedure in Section 3664,

which would require a victim to petition the court for an amended

restitution order every 60 days for as long as the therapy lasted.”). By


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including future payments for therapy, “Congress was well aware that

children victimized by sexual abuse often do not recover quickly from

their injuries.” Laney, 189 F.3d at 966.

     The district court reasonably estimated that future therapy

expenses would be $1,000 per year based upon two years of therapy

costing $2,000. It was reasonable to anticipate similar expenses even

using a different therapist. Moreover, the district court’s estimate was

conservative — it used the same total of $1000 each year, not accounting

for the reality that therapy costs will most likely increase with time. See

Danser, 270 F.3d at 455-56 & n.6.

     In Danser, the defendant was convicted on three counts of sexual

abuse arising from a sexual relationship with his nine-year-old daughter.

Id. at 452. At the sentencing hearing, the child’s therapist testified that

she would require long-term mental health care, possibly for the rest of

her life. Id. The prosecution provided a restitution amount of $309,270

for therapy, of which $304,200 comprised future therapy costs. Id. Under

plain-error review, Danser argued that insufficient evidence supported

lifetime counseling where the costs were unascertainable.            Id.   The

Seventh Circuit held that no clear and obvious error existed when the


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figures were proffered by the treating psychologist and the district court

simply multiplied the present value of therapy to determine future costs.

Id. at 456 & n.6. The Court noted that the district judge “did not take

into account that the costs of therapy might well (and, indeed most

probably will) increase with time. In this respect, the dangers associated

with projecting costs were certainly diminished.” Id.

     The total restitution award here of $22,000 for the two victims at

$1,000 per year is low by comparison to Danser and other cases using

estimates for minors’ therapy costs. See Doe, 488 F.3d at 1161 (noting

that two years of counseling at $1,426 per child was low in comparison to

$304,200 lifetime counseling costs in Danser.); see also United States v.

Johnson, 680 F. App’x 194, 200-01 (4th Cir. Feb. 28, 2017) (unpublished)

(finding it “reasonable to base restitution calculation [$78,000 for future

therapy costs] on weekly sessions with an identified therapist for the next

ten years, until the child reaches the age of eighteen (and without any

consideration for the likelihood that such costs will increase by then)”).

     The record establishes that the court’s restitution calculation was

based upon testimony of “K.C.’s” past therapy expenses and upon a

reasonable approximation of “K.C.’s” future therapy. See Reese, 998 F.2d


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at 2282; Villalobos, 879 F.3d at 172; Futrell, 209 F.3d at 1292. No clear

and obvious error exists in the $12,000 restitution award for “K.C.” See

Danser, 270 F.3d at 456.

           2.    The $10,000 restitution award for “E.E.”

     Ms. Trevino’s victim impact statement confirmed that both she and

her daughter had received state-funded counseling but neither were fully

healed. ROA.396. “E.E.” was four in 2020 when Etheridge raped her,

and as of July 2021, she had not made an outcry statement at counseling.

ROA.396. Given “E.E.’s” young age, Ms. Trevino did not know whether

“E.E.” remembered the assaults and did not know how they would affect

“E.E.” in the future. ROA.399.

     At the sentencing hearing, Ms. Trevino informed the court that she

had not intended to speak. ROA.308. No doubt the facts of Etheridge’s

recorded incestuous rapes of “E.E.” were horrific. See Villalobos, 879 F.3d

at 171-72. Ms. Trevino again informed the court that her past expenses

for therapy for “E.E.” were free, but that she feared future therapy

expenses for “E.E.” once “E.E.” remembered the assaults. ROA.309, 311-

12. The district court was entitled to credit this testimony at sentencing,

in addition to Ms. Trevino’s written statement. See Reese, 998 F.2d at


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1282. Etheridge’s argument that the court is limited to Ms. Trevino’s

written statement is incorrect. Appellant’s Brief, 45-46. This Court

affords the district court broad discretion at sentencing to consider

affidavits and letters by the injured party and other hearsay evidence

that bears minimal indicia of reliability so long as the defendant is given

an opportunity to refute that evidence. See Reese, 998 F.2d at 1282.

     Given that Ms. Trevino anticipated future therapy costs, but did

not have past out-of-pocket expenses to use as a benchmark, the court

used the $1,000 per year estimate provided by Etheridge’s other victim,

six-year-old “K.C.” ROA.320. The court concluded that both “E.E.” and

“K.C.” would “need similar care” even though the crimes against “E.E.”

involved incestuous rape, which was arguably more physically and

emotionally harmful than the abuse suffered by “K.C.” The court made

a reasonable estimate given the significantly young age of “E.E.”

     The district court’s approach was a reasonable and accepted method

of calculating future medical expense loss in cases of sexual exploitation

of very young children. See Baker, 672 F. Supp. 2d at 777 (due to the

victims’ disinterested and uncooperative custodial parent, the doctor’s

report was based on a one-time interview with the victims and recent


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literature estimating the cost of future mental health treatment for

sexual abuse and emotional abuse victims at $25,000 per victim).

     On similar facts as here, the defendant in United States v. Osman,

853 F.3d 1184, 1185 (11th Cir. 2017), sexually abused his one-year-old

daughter and recorded the abuse with his cell phone. He sent images to

a co-defendant in exchange for receipt of sexually explicit images of the

co-defendant’s three-year-old daughter. Id. The Circuit understood that

the minor’s future therapy needs were “predictive because of “A.E.’s

young age” and the facts of the offense:

     We are not dealing here with just the likelihood that a young
     child whose pornographic images are shared online will suffer
     residual effects from the reproduction of those images will
     need treatment. We are dealing with a child who was
     molested by her father, who will be informed of that fact, who
     will know that her father is absent from her life and suffering
     imprisonment based on that interaction. That is a heavy
     burden to place on a child. We cannot imagine that therapy
     will not be in order at the relevant times. Given the facts here,
     it seems that the need for future therapy is not just likely, but
     a virtual certainty.

Id. at 1192.

     Etheridge suggests that because Ms. Trevino received state-

assistance for “E.E.’s” past therapy, her request for funding for future

treatment should be rejected. Appellant’s Brief, 46. This argument fails


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under the plain language of the statute. Under § 2259(b)(4)(B)(ii), a

district court “may not decline to issue an order under this section

because of the fact that a victim has, or is entitled to, receive

compensation for his or her injuries from . . any other source.” See

Kearney, 672 F.3d at 99; United States v. Crandon, 173 F.3d 122, 126-27

(3d Cir. 1999). Where, as here, the record provides an adequate basis to

support the restitution order, the district court did not need to make more

specific findings and “E.E.’s” restitution award should be affirmed under

plain-error review. See Leal, 933 F.3d at 431-32.

     Should this Court disagree with the United States about the

sufficiency of evidence to support restitution for “E.E.’s” loss, the proper

remedy is to remand for resentencing for the district court to consider

supplemental evidence of future therapy costs. See Villalobos, 879 F.3d

at 172; United States v. Jimenez, 692 F. App’x 192, 204 (5th Cir. 2017)

(unpublished).

     In Jimenez, the defendant pleaded guilty to receipt of a visual

depiction of a minor child engaging in sexually explicit conduct, in

violation of 18 U.S.C. § 2252(a). 692 F. App’x at 194. Two days before

sentencing, the probation officer filed an addendum to the PSR with a


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letter from the victims’ attorney requesting $25,000 for each of the five

victims involved in the “8 Kids Series,” a series of child pornography

images that Jimenez had possessed. Id. at 195. The district court did

not explain how the $25,000 loss per victim was determined. Id. This

Court permitted the United States to present additional evidence of

restitution for the victims on remand in order to prevent harm to them.

Id. at 204.

     It is undisputed that “E.E.” has received past therapy for

Etheridge’s crimes and her mother anticipated “E.E.’s” need for future

therapy because neither of them were “fully healed.” ROA.309, 312, 396.

Etheridge’s request that this Court vacate and remand for an entry of

zero restitution is unconscionable on the facts of this case. Nor is it

supported by this Court’s precedents for these types of heinous crimes

against children. See Villalobos, 879 F.3d at 172; Jimenez, 692 F. App’x

at 203. Should this Court determine that the district court’s restitution

award was erroneous, the appropriate remedy is to remand for

supplementation of future therapy costs to avoid irreparable future harm

to “E.E.” See Villalobos, 879 F.3d at 172.




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                       CONCLUSION

This Court should affirm the judgment of the district court.

                            Respectfully submitted,

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                       CERTIFICATE OF SERVICE

     I, Lauretta Drake Bahry, Assistant United States Attorney, hereby

certify that on February 22, 2023, an electronic copy of the Appellee’s

Brief was served by notice of electronic filing via this court’s CM/ECF

system upon opposing counsel, Evan G. Howze.

     Upon notification that the electronically filed brief has been

accepted as sufficient, and upon the Clerk=s request, seven paper copies

of this brief will be placed in the United States Mail, postage prepaid,

addressed to the Clerk. See 5th Cir. R. 25.2.1, 31.1; 5th Cir. ECF filing

standard E(1).



                                            s/ Lauretta Drake Bahry
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                 CERTIFICATE OF COMPLIANCE

1.   This brief complies with the type‑volume limitation of Fed. R. App.
     P. 32(a)(7)(B) because this brief contains 12,124 words, excluding
     the parts of the brief exempted by Fed. R. App. P. 32(f).

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                                           Date: February 22, 2023




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